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                                        March 27, 2023

Via ECF

The Honorable Laura Taylor Swain
United States District Court
Southern District of New York
500 Pearl St.
New York, NY 10007

Re:     Rankine v. Levi Strauss & Co., Case No. 1:22-cv-03362-LTS

Dear Judge Swain:

        I represent Plaintiff in the above-captioned action. I write pursuant to Rule 1(a)(i) of
Your Honor’s Individual Practices to bring to the Court’s attention a recent decision denying a
motion to certify for interlocutory appeal in the case captioned Miner-Vargas et al. v. Wal-Mart,
Inc., Case No. 1:20-cv-00591-TJM-CFH, ECF No. 58 (N.D.N.Y. Mar. 23, 2023).1 A true and
correct copy of the decision is attached hereto as Exhibit A.

        In denying the defendant’s motion, the court in Wal-Mart held, “[t]he attack on the
reasoning of Vega relying on pre-Vega decisions does not indicate to the Court that the New
York Court of Appeals would revisit the First Department’s decision in Vega.” Exhibit A, at 7;
see also id. at 11 (“Furthermore, and as relevant to the instant motion, Defendant and Amici have
failed to establish that there are substantial grounds for difference of opinion as to whether
NYLL §191 provides a private right of action and whether NYLL § 198 affords liquidated
damages for such a violation.”).

      Plaintiff respectfully submits the Wal-Mart decision further supports denial of
Defendant’s pending motion to dismiss.


                                                                Respectfully,




CC: All counsel of record via ECF                               Yitzchak Kopel


1
 Defendant requested a stay pending the Wal-Mart decision in its motion to dismiss. See ECF
No. 22, at 17-20.
